Docusign Envelope ID: 76571D64-3703-4D38-82F6-946200327A89                    FTXCreditor (https://ftxcreditor.com)
                             Case 22-11068-JTD           Doc 26013    Filed 09/30/24 Page 1 of 4

      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF DELAWARE


       In re:                                                    Chapter 11
       FTX Trading Ltd. (d/b/a “FTX”)
                                                                     22-11068
       debtorentity                                              caseID
       Debtors                                                   (Jointly Administered)
                             TRANSFER OF CLAIM OTHER THAN FOR SECURITY


      A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
      hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy
      Procedure of the transfer, other than for security, of the claim referenced in this evidence and notice
       Name of Transferor:                                       Name of Transferee:
                             e                                   FTXCREDITOR, LLC
       Name and Current Address of Transferor:                   Name and Address where notices and payments
                                                                 to transferee should be sent:
       Address:                                                  Address:
                                                                 FTXCREDITOR, LLC
                                                                 Michael Bottjer


                                                                 1509 Bent Ave.


                                                                 Cheyenne, WY 82001,


                                                                 claims@ftxcreditor.com


       Claim No./Schedule              Creditor Name             Amount                    Debtor

       Kroll Schedule                                            Described on Schedule F
                                       transferorname                                      debtorentity
                                                                                           FTX Trading Ltd.
       claimNo                                                                              (d/b/a “FTX”) (Case
         221106807183637                                                                    No. 22-11068)


       krollScheduleID
       Debtor Schedule F No:                                     Described on Schedule F    FTX Trading Ltd.
       00347416                                                                             (d/b/a “FTX”) (Case
       schedulefnumber                 t                                                   debtorentity
                                                                                            No. 22-11068)
       Claim Number: 92499


       claimConfirmationNumber

                                                                                             Transfer Agreement
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      I declare under penalty of perjury that the information provided in this notice is true and correct to the
      best of my knowledge and belief.



      By:
      Transferee / Transferee’s Agent

      Date: 9/27/2024
            transferdate




                                                                                            Transfer Agreement
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                                                   Identity of Transferor

      Transferee has in its possession an Evidence of Transfer signed by the Transferor.

      To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address,
      and has not attached the signed Evidence of Transfer to this Notice of Transfer of Claim.

      Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
      Bankruptcy Court, the Debtors, and appropriate professionals.




                                                                                            Transfer Agreement
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                                 EVIDENCE OF TRANSFER OF CLAIM

      TO: Clerk, United States Bankruptcy Court, District of Delaware, for good and valuable consideration,
      the receipt and sufficiency of which are hereby acknowledged, creditor trans
      hereby certifies that it has unconditionally and irrevocably sold, transferred and assigned to FTXCRED-
      ITOR, LLC, its successors and assigns, all right, title and interest in and to the claim(s) identified
      below, against FTX Trading LTD et al:

       Schedule F Claim #:                                   00347416

                                                             schedulefnumber
       Claim Amount:                                         as detailed on Schedule F

      Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
      Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
      of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

      You are hereby requested to make all future payments and distributions, and to give all notices and other
      communications in respect of the claim, to Buyer.


              9/27/2024
      Date:


       BUYER:
       FTXCREDITOR, LLC




       Name: Michael Bottjer                                            Name:
       Email: claims@ftxcreditor.com                                    Email: t




                                                                                                 Transfer Agreement
